Case: 6:17-cv-00050-GFVT Doc #: 37 Filed: 04/10/18 Page: 1 of 1 - Page ID#: 469


            United States District Court for the Western

                                District of Kentucky

     Teresa Chandler



                                                Plaintiff,

      vs.                                                                           Case No. 6:17-cv-50-GFVT

     Peoples Bank & Trust Co. of Hazard



                                             Defendant.



                                NOTICE OF APPEAL
Notice is hereby given that Teresa Chandler                                                                    ,
                                        Name all parties taking the appeal


hereby appeal to the United States Court of Appeals for the Sixth Circuit from

Opinion and Order Dismissing Plaintiff's Complaint with Prejudice
                                  The final judgment, from an order describing it


entered in this action on the   26th     day of                                            March , 2018        .


                                                   (s) James Hays Lawson
                                                               Address: Lawson at Law, PLLC
                                                                          115 S. Sherrin Ave., Suite #5
                                                                          Louisville, KY 40207

                                                   Attorney for Teresa Chandler

Note to inmate filers: If you are an inmate confined in an institution and you seek the timing
benefit of Fed. R. App. P. 4(c)(1), complete Form 7 (Declaration of Inmate Filing) and file that
declaration along with this Notice of Appeal.

cc: Opposing Counsel ✔
    Court of Appeals ✔

6CA-3
11/16
